     Case 3:18-cv-01578-K Document 49 Filed 11/06/18      Page 1 of 19 PageID 4873


                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

DOMAIN PROTECTION, LLC,                    §
                                           §
               Plaintiff,                  §
                                           §
v.                                         § Civil Action No. 3:18-CV-01578-K
                                           §
SEA WASP, LLC, and DOE 1 – DOE 5           §
                                           §
               Defendants.                 §

                      MEMORANDUM OPINION AND ORDER

         Before the Court are three motions: (1) Domain Protection, LLC’s Motion for

Issuance of Temporary Restraining Order and Preliminary Injunction (Doc. No. 8); (2)

Quantec, LLC, RPV, Limited, and Jeffrey Baron’s Motion for Reconsideration, and/or

to Alter or Amend Order and Final Judgment, or in the Alternative, to Clarify the

Court’s Order (Doc. No. 44); and (3) Defendant Sea Wasp’s Motion to Stay and

Memorandum of Support (Doc. No. 45). The Court has considered these motions, the

responses and replies thereof, the record, and the applicable law. Because the Court

finds that the relevant factors weigh in favor of transfer, the Court sua sponte

TRANSFERS the case to the United States District Court for the Eastern District of

Texas, Sherman Division.

         I.    Factual and Procedural Background

         Although the parties dispute the majority of relevant facts in this case, the

primary dispute concerns Internet domain names. Plaintiff Domain Protection, LLC


                                           1
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18          Page 2 of 19 PageID 4874


(“Domain Protection”) alleges to be the owner and “registrant” of the disputed domain

names at issue in this case (the “Domain Names”). Defendant Sea Wasp, LLC (“Sea

Wasp”) purports to be the “registrar” of the Domain Names. The terms “registrant”

and “registrar” are terms of art used by the Internet Corporation for Assigned Names

and Numbers (“ICANN”) in its various policies that govern the Internet’s Domain

Name System (“DNS”). Both parties agree that ICANN’s rules, at least to some extent,

apply to the parties’ conduct concerning the Domain Names.

      The Domains Names have allegedly been the subject of various proceedings over

the past decade, including, but not limited to, cases in this District, the United States

Bankruptcy Court for the Eastern District of Texas, Collin County District Court, and

Australia. The Court does not detail the nature of these cases except when necessary

for this Order, as both parties are familiar with the prior proceedings.

      The parties originally allege that the instant case in front of this Court does not

concern a dispute as to ownership. Domain Protection instead alleges that this case

concerns the respective power that Domain Protection (as the alleged registrant) and

Sea Wasp (as the alleged registrar) have with regard to the Domain Names. In various

filings with the Court, Sea Wasp originally asserted that it “takes no position as to the

ownership of the [Domain Names].” E.g., Defendant Sea Wasp, LLC’s Response in

Opposition to Motion for Preliminary Injunction (Doc. No. 41).

      Sea Wasp has recently clarified its position. Although Sea Wasp takes no

position concerning ownership of the Domain Names, Sea Wasp argues that “[t]he


                                            2
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 3 of 19 PageID 4875


current action is and has always been about ownership of the [Domain Names].”

Defendant Sea Wasp’s Motion to Stay and Memorandum of Support (Doc. No. 45).

Sea Wasp now emphasizes that one proceeding is specifically relevant to the case before

this Court: Novo Point LLC, et al. v. Christopher A. Payne, et al., Case No. 16-41533,

Adversary No. 16-04110 (the “Adversary Proceeding”). The Adversary Proceeding is

in the United States Bankruptcy Court for the Eastern District of Texas and stems

from the Chapter 11 bankruptcy for Christopher A. Payne (“Payne”). The Adversary

Proceeding, in its simplest terms, is an ownership dispute as to the Domain Names.

       II.    Applicable Legal Standards

       The first question the Court must address is what statute applies when a district

court seeks to transfer a case related to a bankruptcy proceeding. Two statutes are

relevant to this inquiry.

       The general transfer-of-venue statute provides that “[f]or the convenience of

parties and witnesses, in the interest of justice, a district court may transfer any civil

action to any other district or division where it might have been brought.” 28 U.S.C. §

1404(a) (2012). The decision to transfer under § 1404(a) is “committed to the sound

discretion of the transferring judge.” Jarvis Christian Coll. v. Exxon Corp., 845 F.2d 523,

528 (5th Cir. 1988). In the context of cases related to bankruptcy proceedings, “[a]

district court may transfer a case or proceeding under title 11 to a district court for

another district, in the interest of justice or for the convenience of the parties.” 28

U.S.C. § 1412 (2012). A district court may transfer sua sponte under both statutes.


                                            3
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 4 of 19 PageID 4876


LSREF2 Baron, LLC v. Aguilar, Civ. Action No. 3:12–cv–1242–M, 2013 WL 230381,

at *3 (N.D. Tex. Jan. 18, 2013) (Lynn, J.).

      These two statutes illustrate three important differences solely from their text.

First, under § 1404(a), a district court may transfer “any civil action.” Under § 1412,

a district court can only transfer “a case or proceeding under title 11.” Second, under

§ 1404(a), a district court can only transfer a case to another “district or division where

it might have been brought.” Section 1412 has no analogous restriction. Third, under

§ 1404(a), a district court can only transfer a case “[f]or the convenience of the parties

and witnesses, in the interest of justice.” Section 1412 is disjunctive, allowing transfer

for convenience of the parties or in the interest of justice. The text of each statute

consequently has an effect on the district court’s transfer analysis.

      Whether a case is a “case . . . under title 11” for purposes of § 1412 also raises a

related issue—the jurisdiction of bankruptcy courts. A bankruptcy court has exclusive

jurisdiction as to “cases under title 11,” and non-exclusive jurisdiction as to “civil

proceedings arising under title 11, or arising in or related to cases under title 11.” 28

U.S.C. § 1334(a)–(b) (emphasis added); see also 28 U.S.C. § 157(a); Celotex Corp. v.

Edwards, 514 U.S. 300, 307 (1995). The Fifth Circuit has interpreted the concept of

“related to” broadly, holding that jurisdiction exists when “the outcome of the

proceeding could conceivably affect the estate being administered in bankruptcy.” In re

TXNB Internal Case, 483 F.3d 292, 298 (5th Cir. 2007) (citing Arnold v. Garlock, Inc.,

278 F.3d 426, 434 (5th Cir. 2001)). A proceeding conceivably affects an estate when


                                            4
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18          Page 5 of 19 PageID 4877


the proceeding’s “outcome could alter, positively or negatively, the debtor’s rights,

liabilities, options, or freedom of action or could influence the administration of the

bankrupt estate.” Id. (citing Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 752 (5th

Cir. 1995)).

      Section 1412 applies to “core” proceedings in the bankruptcy context, but the

Fifth Circuit has not yet determined whether § 1412 also applies to “non-core”

proceedings. Leal v. Bednar, Civ. Action No. 3:16-CV-3424-G, 2017 WL 565176, at

*1–*2 (N.D. Tex. Feb. 13, 2017) (Fish, J.). “Core proceedings . . . are those which arise

only in bankruptcy or involve a right created by federal bankruptcy law. Non-core,

related proceedings are those which do not invoke a substantive right created by federal

bankruptcy law and could exist outside of a bankruptcy, although they may be related

to a bankruptcy.” LSREF2 Baron, LLC, 2013 WL 230381, at *1 n.3 (emphasis added)

(quoting Specialty Mills, Inc. v. Citizens State Bank, 51 F.3d 770, 773–74 (8th Cir.

1995)). The Fifth Circuit has defined core proceedings and non-core proceedings by

reference to the jurisdictional language of § 1334(b). Wood v. Wood (In re Wood), 825

F.2d 90, 96 (5th Cir. 1987). Core proceedings are those proceedings that (1) arise

under title 11 or (2) arise in cases under title 11. Id.; see § 1334(b); § 157(b). By

implication, when a bankruptcy court has jurisdiction on the basis of the “related to”

provision of § 1334(b), the bankruptcy court is handling a non-core proceeding. See

Wood, 825 F.2d at 96 (recognizing three categories of jurisdiction under § 1334(b) and

interpreting core proceedings under § 157(b) as including the “arising under” and


                                            5
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18             Page 6 of 19 PageID 4878


“arising in” jurisdiction). Therefore, when a district court is seeking to transfer a

proceeding on the basis that it is “related to” a bankruptcy case, it is unclear whether

§ 1412 or § 1404(a) applies.

          Courts in the Northern District of Texas that have addressed this issue have held

that § 1412 applies to non-core proceedings. E.g., Leal, 2017 WL 565176, at *2–*3;

LSREF2 Baron, LLC, 2013 WL 230381, at *3–*4; see also Marquette Transp. Co. v. Trinity

Marine Prods., Inc., Civ. Action Nos. 06–0826, 06–827, 06–1281, 06–1282, 2006 WL

2349461, at *4 (E.D. La. Aug. 11, 2016). The Court finds the reasoning of these courts

persuasive, but, as discussed below, finds transfer appropriate under § 1404(a) as well.

          III.   Analysis

          Because Domain Protection has referenced jurisdiction throughout its filings,

and because the issue of bankruptcy court jurisdiction is intertwined with § 1412

transfer analysis, the Court first addresses the relevant jurisdictional issues. See Leal,

2017 WL 565176, at *2–*3 (finding that the case in front of it was “related to” a

bankruptcy case after holding that § 1412 applied to claims “related to” bankruptcy

cases).

                 A. Subject-Matter Jurisdiction

                       i. The     Northern    District     Does   Not   Have    Exclusive

                            Jurisdiction over this Case.

          The Court first addresses Domain Protection’s assertion that the Northern

District has exclusive jurisdiction over this case. In its complaint, Domain Protection


                                              6
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 7 of 19 PageID 4879


asserts that “the United States District Court for the Northern District of Texas ordered

that the Court shall retain exclusive jurisdiction over any disputes that may arise

concerning any earlier order in that case.” Domain Protection is referring to an order in

Netsphere, Inc. v. Jeffrey Baron, No. 1447 Civ. Action. No. 3-09-CV-00988-L (N.D. Tex.

March 27, 2015), in which the Honorable Sam A. Lindsay presided. The relevant

language provides:

       The court shall retain exclusive jurisdiction of this case over any disputes that
       may arise concerning this or any earlier order, the wind down of the Receivership
       estates, and the relief provided under this order, or any controversy that arises
       from or relates to the Receivership or actions of the Receiver or his professionals.

Id. at 21. Domain Protection asserts that the Domain Names fall within the scope of

an earlier order in the case. Upon this Court’s review of Netsphere, Inc., the Domain

Names are not within the Northern District’s retained exclusive jurisdiction. In an

order prior to the order cited by Domain Protection, Judge Lindsay specifically

addresses the “Baron or Novo Point/Quantec assets,” stating that “the court does not

and will not have jurisdiction in this case over any claims and disputes regarding the

ownership of the [Domain Names].” Netsphere, Inc., No. 1368, slip op. at 9. It would

contravene Judge Lindsay’s prior, explicit refusal to exercise jurisdiction over the

Domain Names to now hold that the Northern District retained exclusive jurisdiction

over the instant dispute through the language cited by Domain Protection. Because the

“exclusive jurisdiction” retained by the Northern District does not encompass the

Domain Names, the Court can properly consider transfer of this case.



                                            7
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18             Page 8 of 19 PageID 4880


                     ii. The Jurisdiction of the Bankruptcy Court Is Irrelevant to

                         the Issue of Transfer.

       Domain Protection suggests in its Reply Brief in Support of Preliminary

Injunction that a bankruptcy court would not have jurisdiction over the current action

before the Court. Although the Court will briefly address this concern below, the Court

first explains why Domain Protection’s concern is irrelevant at least when it comes to

the transfer analysis under § 1412.

       Section 1412 provides that “[a] district court may transfer a case or proceeding

under title 11 to a district court for another district.” § 1412 (emphasis added). The text

of the statute does not allow for a district court to transfer a case directly to a

bankruptcy court in another district. The statute instead allows for transfer to a district

court, and the transferee court then may refer a case to a bankruptcy court. See § 157(a).

The United States District Court for the Eastern District of Texas has a standing order

referring such cases to its bankruptcy courts. Order of Reference of Bankruptcy Cases

and Proceedings Nun Pro Tunc (E.D. Tex. 1984).

       The Court’s transfer of this case to the Eastern District of Texas does not, by

itself, affect the subject-matter jurisdiction of this case. The district court of the Eastern

District of Texas would have jurisdiction over the case in the same manner as this

Court. Because the Court only transfers the case to the Eastern District, and does not

refer the case to the Bankruptcy Court for the Eastern District, subject-matter

jurisdiction is not a concern at this stage.


                                               8
  Case 3:18-cv-01578-K Document 49 Filed 11/06/18            Page 9 of 19 PageID 4881


                     iii. The Bankruptcy Court Should Determine Whether It

                         Ultimately Has Jurisdiction over the Case.

       As discussed above, Domain Protection’s concern regarding a bankruptcy court’s

potential jurisdiction over this case is misplaced for two reasons. First, the Northern

District of Texas does not have exclusive jurisdiction over this case. Second, a transfer

of the case would not immediately affect the transferee court’s jurisdiction. Despite

these two points, the Court briefly addresses whether the Bankruptcy Court for the

Eastern District of Texas would have jurisdiction over this case, as the issue of subject-

matter jurisdiction relates to whether § 1412 applies. See LSREF2 Baron, LLC, 2013

WL 230381, at *1–*4 (finding that the case fell within the scope of “related to”

jurisdiction before holding that § 1412 was the appropriate statute for transfer

analysis).

       Jurisdiction under the “related to” provision of § 1334(b) exists when “the

outcome of the proceeding could conceivably affect the estate being administered in

bankruptcy.” In re TXNB Internal Case, 483 F.3d at 298. “Certainty is unnecessary; an

action is ‘related to’ bankruptcy if the outcome could alter, positively or negatively, the

debtor’s rights, liabilities, options, or freedom of action or could influence the

administration of the bankrupt estate.” Id. (emphasis added). As alleged by the plaintiffs of

the Adversary Proceeding, Payne has attempted to exercise control over the Domain

Names. Third Amended Complaint at 14–17, Novo Point LLC v. Payne (In re Payne),

Ch. 11 Case No. 16-41533, Adv. No. 16-04110 (E.D. Tex. Feb. 5, 2018). A decision


                                             9
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18            Page 10 of 19 PageID 4882


by this Court regarding the authority of Domain Protection and Sea Wasp over the

Domain Names may or may not directly affect Payne’s bankruptcy estate; however, a

determination about a party’s authority over the Domain Names almost certainly

could, at the very least, influence the administration of Payne’s estate. This case falls

within the “broad ‘conceivable effect’ test.” In re KSRP, Ltd., 809 F.3d 263, 266 (5th

Cir. 2015); see also In re Spillman Dev. Grp., Ltd., 710 F.3d 299, 304–05 (5th Cir. 2013)

(“We have previously held that similar attenuated, hypothetical effects of third-party

litigation can give rise to related-to bankruptcy jurisdiction.”).

       Examining the scope of bankruptcy court jurisdiction leads to a related question:

Which court should ultimately determine whether a case falls within the scope of the

bankruptcy court’s jurisdiction? Section 157(b)(3) provides that “[t]he bankruptcy

judge shall determine . . . whether a proceeding is a core proceeding under this

subsection or is a proceeding that is otherwise related to a case under title 11.” §

157(b)(3) (emphasis added). By distinguishing core proceedings from non-core

proceedings, the bankruptcy judge inherently determines into which “category” of

jurisdiction under § 1334(b) a case falls. See Wood, 825 F.2d at 96. This statutory

mandate that bankruptcy judges should determine whether a proceeding is core or non-

core suggests that bankruptcy judges are better suited to determine the related issue of

the scope of their own jurisdiction. Courts in the Fifth Circuit have also held that

bankruptcy courts are better suited to determine the scope of their jurisdiction.

Marquette Transp. Co., 2006 WL 2349461, at *2 (“[T]he bankruptcy court is best suited


                                            10
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 11 of 19 PageID 4883


to resolve the issue of section 1334 jurisdiction.”); see Orix Fin. Corp. v. Nexbank, SSB,

Civ. Action No. 3:08–CV–0550–B, 2008 WL 2796069, at *3–*4 (N.D. Tex. July 15,

2008) (Boyle, J.) (holding that a bankruptcy judge could better determine whether the

case should be remanded for lack of jurisdiction). Therefore, while the Court analyzes

whether the case would fall within the “related to” jurisdiction of the Bankruptcy Court

for the Eastern District of Texas solely for purposes of determining whether § 1412

applies, the Court recognizes that the Bankruptcy Court is better suited for the ultimate

determination of whether it has subject-matter jurisdiction. See Marquette Transp. Co.,

2006 WL 2349461, at *2–*4 (holding that the bankruptcy court should rule on the

jurisdictional issue after transfer despite finding that § 1412 applied to the case on

“related to” grounds).

      The Court’s analysis on the issue of subject-matter jurisdiction establishes three

important points. First, the Northern District of Texas does not have exclusive

jurisdiction and thus creates no jurisdictional issue by transferring the case. Second, a

transfer of this case to the Eastern District of Texas does not immediately pose a

jurisdictional issue because the transfer is only to the Eastern District of Texas and not

directly to a bankruptcy court. Third, while the Court finds that this case is “related

to” the Payne bankruptcy in the Eastern District of Texas for purposes of determining

whether § 1412 applies, the Bankruptcy Court for the Eastern District of Texas may

still make the ultimate decision regarding whether it has jurisdiction over this dispute.

Having analyzed the preliminary issues concerning jurisdiction, the Court now turns


                                           11
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 12 of 19 PageID 4884


to whether transfer of the case to the Eastern District of Texas is appropriate under §

1412.

              B. Transfer Is Appropriate Under § 1412.

        Under § 1412, “[a] district court may transfer a case or proceeding . . . in the

interest of justice or for the convenience of the parties.” § 1412 (emphasis added). “As

to the interest of justice prong, there is a ‘strong presumption that proceedings related

to a bankruptcy case should be transferred to the district where the bankruptcy

proceedings are pending.’” Leal, 2017 WL 565176, at *4 (quoting LSREF2 Baron, LLC,

2013 WL 230381, at *5)). The factors the Court considers when determining whether

transfer is appropriate are: “(1) the location of the bankruptcy estate; (2) whether the

interests of judicial economy would be served by the transfer; (3) the possibility of a

fair trial; (4) either forum’s interest in the controversy; (5) the enforceability of any

judgment obtained; and (6) the plaintiff’s original choice of forum.” Id.; see also LSREF2

Baron, LLC, 2013 WL 230381, at *4 (enumerating seven similar factors). A seventh

factor—considered to be the most important—“is whether transfer would promote the

economic and efficient administration of the bankruptcy estate.” LSREF2 Baron, LLC,

2013 WL 230381, at *4. Efficiency often involves whether transfer could “eliminat[e]

the risk of conflicting rulings” between the case before the district court and the

bankruptcy proceeding. Id. at *5.

        Having determined that § 1412 applies to this case, the transfer analysis is

straightforward: Transfer to the Eastern District of Texas is appropriate because it is in


                                           12
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 13 of 19 PageID 4885


the interest of justice. The Court first finds that, on the record currently before the

Court, the third and fifth factors listed above are neutral. While Domain Protection

chose the Northern District as its original forum (the sixth factor), the first, second,

fourth, and, most importantly, seventh factor weigh in favor of transfer. The Payne

bankruptcy has been pending in the Eastern District since August 30, 2016, and the

Adversary Proceeding concerning the ownership of the Domain Names was first filed

on November 21, 2016. The Court acknowledges Domain Protection’s repeated

contention that ownership of the Domain Names is not synonymous with the authority

issue under the ICANN rules; however, the case still presents a concern of “conflicting”

rulings. If the Court determines that Sea Wasp has no authority to lock the Domain

Names, the Court risks undermining the ownership dispute in the Adversary

Proceeding. On the other hand, if the Court determines that Sea Wasp does have

authority to lock the Domain Names, a decision in the Adversary Proceeding that

Domain Protection is not the rightful owner of the Domain Names would negate the

need for resolving the registrant–registrar control dispute. Any injunctive relief granted

by this Court on the highly technical matter of ownership and control of Domain

Names runs the inherent risk of affecting the Payne bankruptcy and the Adversary

Proceeding. The Adversary Proceeding and the instant case present two factually

complicated disputes that are inherently intertwined. The economic and efficient

resolution of the Payne bankruptcy, as well as the Adversary Proceeding and this case,




                                           13
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18             Page 14 of 19 PageID 4886


depends upon having a case that affects the Domain Names centralized in the most

appropriate forum. That forum is the Eastern District of Texas.

              C. Transfer Is Also Appropriate Under § 1404(a).

       Although the Court has discussed why § 1412 is the controlling transfer statute,

the Court also considers the alternative outcome of the analysis under § 1404(a). For

the reasons stated below, the Court finds that transfer is also appropriate under §

1404(a).

       Section 1404(a) provides that “for the convenience of parties and witnesses, in

the interest of justice, a district court may transfer any civil action to any other district

or division where it might have been brought.” § 1404(a). A court may sua sponte

transfer a case when the transferee venue is clearly more convenient than the venue

chosen by the plaintiff. Kirkpatrick v. ARM WNY LLC, Civ. Action No. 3:15–CV–1818–

L, 2015 WL 3539604, at *1–*2 (N.D. Tex. June 5, 2015) (Lindsay, J.); see also In re

Nintendo Co., 589 F.3d 1194, 1197 (Fed. Cir. 2009); In re Genentech, Inc., 566 F.3d

1338, 1342 (Fed. Cir. 2009); In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir.

2008); In re Volkswagen of Am., Inc. (Volkswagen II), 545 F.3d 304, 315 (5th Cir. 2008)

(en banc), cert. denied, 555 U.S. 1172 (2009). The plaintiff’s choice of venue is not a

factor in this analysis, but it does contribute to the showing that the transferee venue

is clearly more convenient than the transferor venue. Volkswagen II, 545 F.3d at 314–

15.




                                             14
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18            Page 15 of 19 PageID 4887


      The initial question in applying the provisions of § 1404(a) is whether the suit

could have been brought in the transferee district. In re Volkswagen AG (Volkswagen I),

371 F.3d 201, 203 (5th Cir. 2004). If the potential transferee district is a proper venue,

then the court must weigh the relative public and private factors of the current venue

against the transferee venue. Id. In making such a convenience determination, the court

considers several private- and public-interest factors, none of which are given

dispositive weight. Id. The private-interest factors include: “(1) the relative ease of

access to sources of proof; (2) the availability of compulsory process to secure the

attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all

other practical problems that make trial of a case easy, expeditious and inexpensive.”

Nintendo, 589 F.3d at 1198; see Genetech, 566 F.3d at 1342; TS Tech., 551 F.3d at 1319;

Volkswagen II, 545 F.3d at 315. The public-interest factors include: “(1) the

administrative difficulties flowing from court congestion; (2) the local interest in having

localized interests decided at home; (3) the familiarity of the forum with the law that

will govern the case; and (4) the avoidance of unnecessary problems of conflict of laws

in the application of the foreign law.” Volkswagen II, 545 F.3d at 315 (quoting

Volkswagen I, 371 F.3d at 203). Although the letter of § 1404(a) might suggest

otherwise, it is well established that “the interest of justice” is an important factor in

the transfer analysis. DataTreasury Corp. v. First Data Corp., 243 F. Supp. 2d 591, 593–

94 (N.D. Tex. 2003) (Kaplan, M.J.) (citing In re Medrad, Inc., No. 586, 1999 WL

507359, *2 (Fed Cir. 1999)).


                                            15
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18            Page 16 of 19 PageID 4888


       As noted in the Court’s previous discussion, the primary difference between §

1404(a) and § 1412 is that § 1404(a) mandates that the transferee venue be a “district

or division where [the case] might have been brought.” § 1404(a). Because the

Northern District of Texas does not have exclusive jurisdiction over this case, Domain

Protection could maintain this suit in another district. “[A] proceeding . . . related to a

case under title 11 may be commenced in the district court in which such case is

pending.” 28 U.S.C. § 1409(a) (2012). Because the Court finds, for the purposes of

transfer analysis, that the instant case is “related to” the Payne bankruptcy and the

Adversary Proceeding, this case could have originally been brought in the Eastern

District of Texas. See LSREF2 Baron, LLC, 2013 WL 230381, at *6–*7 (finding §

1409(a) as the basis for venue in the first step of its § 1404(a) analysis after analyzing

transfer under § 1412). Sea Wasp is also a resident of the Eastern District of Texas

under 18 U.S.C. § 1391(b)(1) (2012) because it is subject to the personal jurisdiction

of the Eastern District of Texas in the same fashion that it is subject to the personal

jurisdiction of the Northern District of Texas.

                     i. Private-Interest Factors

       The Court finds the first private-interest factor to be neutral. The parties could

access any sources of proof for a dispute concerning Domain Names as easily in the

Eastern District of Texas as in the Northern District of Texas.

       The Court finds the second private-interest factor to be neutral as well. Neither

party has specifically identified any crucial witnesses through their filings thus far, but


                                            16
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18           Page 17 of 19 PageID 4889


the Eastern District of Texas would likely have a similar compulsory power as the

Northern District of Texas over potential witnesses. See FED. R. CIV. P. 45(c)(1)(A)–

(B).

       The third private-interest factor the Court must consider is the cost of

attendance for willing witnesses, which “is probably the single most important factor

in the transfer analysis.” Genetech, 566 F.3d at 1343 (quoting Neil Bros. Ltd. v. World

Wide Lines, Inc., 425 F. Supp. 2d 325, 329 (E.D.N.Y. 2006)). The Court finds that this

factor weighs slightly in favor of transfer because there is likely substantial overlap

between the potential witnesses in this case and the witnesses who will already be

necessary for the Adversary Proceeding. The cost of attendance for any willing witness

in either this case or the Adversary Proceeding will be less if both actions are in the

same forum.

       The fourth private-interest factor is “all other practical problems that make trial

of a case easy, expeditious, and inexpensive.” Volkswagen II, 545 F.3d at 315. This factor

weighs strongly in favor of transfer. As the Court explained in its § 1412 analysis,

rulings from this Court run the inherent risk of affecting the Payne bankruptcy and the

Adversary Proceeding. The practical problems that would arise in maintaining this case

in this Court because of this risk weighs in favor of transfer.

                    ii. Public-Interest Factors

       The first public-interest factor is the administrative difficulties flowing from

court congestion. Although recent statistics show that the Northern District of Texas


                                           17
 Case 3:18-cv-01578-K Document 49 Filed 11/06/18            Page 18 of 19 PageID 4890


has significantly more pending cases per judgeship than the Eastern District, the

“weighted filings” between the two districts are relatively similar. U.S. District Courts—

Federal Court Management Statistics—Comparison Within Circuit—During the 12-Month

Period          Ending         June        30,         2018,         U.S.         COURTS,

http://www.uscourts.gov/statistics/table/na/federal-court-management-

statistics/2018/06/30-3 (last visited October 25, 2018). The Court thus finds that this

factor is neutral.

         The second public-interest factor is whether there is a local interest in deciding

local issues at home. The Court finds this factor to be neutral. There is no relevant

factual connection between an authority dispute over the Domain Names and either

the Northern or Eastern Districts of Texas. See Leblanc v. C.R. England, Inc., 961 F.

Supp. 2d 819, 832 (N.D. Tex. 2013) (Boyle, J.).

         The third public-interest factor is the familiarity of the forum with the law that

will govern the case. Although neither the Northern nor the Eastern Districts of Texas

would be more familiar than the other with the applicable law in this case, the

Bankruptcy Court for the Eastern District of Texas would be more familiar with the

underlying facts between the larger Domain Names dispute, as well as the relevant

persons involved in the dispute. See LSREF2 Baron, LLC, 2013 WL 230381, at *8. This

factor therefore weighs in favor of transfer.

         The fourth public-interest factor involves conflict-of-law issues. Transfer would

not implicate any issue regarding the applicable law; therefore, this factor is neutral.


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 Case 3:18-cv-01578-K Document 49 Filed 11/06/18               Page 19 of 19 PageID 4891


       For many of the same reasons explained in the prior § 1412 analysis, transfer

under § 1404(a) is appropriate. The third and fourth private-interest factors weigh in

favor of transfer. The third public-interest factor also weighs in favor of transfer. The

other factors are neutral. Having considered all of the private- and public-interest

factors and the relative convenience of the parties and witnesses, the Court has

determined that, viewed in their totality, these factors favor transfer and further, that

such a transfer would be in the overall interest of justice.

       IV.    Conclusion

       Because the Court finds that transfer is appropriate under both § 1412 and §

1404(a), the Court TRANSFERS this case to the United States District Court for the

Eastern District of Texas, Sherman Division. 28 U.S.C. § 124(c)(3).

       SO ORDERED.

       Signed November 6th, 2018.




                                          ______________________________________
                                          ED KINKEADE
                                          UNITED STATES DISTRICT JUDGE




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